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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:88-cr-01007-MP-AK

RICHARD KEITH WILLIAMS,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 1194, Motion for Sentence Reduction Pursuant to

18 U.S.C. § 3582(c)(2), filed by Defendant Richard Williams. In his motion, Defendant states

that an amendment to the Sentencing Guidelines reducing the upper-limit base offense levels in

the Drug Quantity Tables applies to him, and has been given retroactive application. Although

the Court previously rejected a similar motion, because the Court based this decision on the fact

that the mandatory enhancements would still result in a life sentence, Defendant argues that the

instant motion should be considered anew in light of the now discretionary nature of the

guidelines under Booker. In order to evaluate Defendant’s request, the Court finds that a

response from the Government is necessary. Therefore, the Government is directed to file a

response to Defendant Williams’ Motion for Sentence Reduction Pursuant to 18 U.S.C. §

3582(c)(2), Doc. 1194.

       DONE AND ORDERED this            11th day of October, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
